                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


   BRENNAN M. GILMORE,                     CASE NO.: 3:18-cv-00017-NKM-JCH

         Plaintiff

         v.

   ALEXANDER JONES, et al.,                BRIEF IN SUPPORT OF THE JOINT
                                           MOTION TO RECONSIDER THIS
         Defendants                        COURTS’ FINDING OF PERSONAL
                                           JURISDICTION OR TO CERTIFY THE
                                           QUESTION FOR INTERLOCUTORY
                                           APPEAL      OF     DEFENDANTS
                                           WILBURN,    HICKFORD,    HOFT,
                                           CREIGHTON, AND WORDS-N-IDEAS,
                                           LLC




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                                            ARTICLE

  Henry Graff and Meghan Moriarty, Biden Announces Presidential Bid in Video that Focuses on
  Events        in       Charlottesville,       NBC29.COM,             April 30,     2019  at
  https://www.nbc29.com/story/40365743/joe-biden-announces-2020-presidential-bid-in-video-
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                                                FACTS

         Defendants Wilburn, Hickford, Hoft, Creighton, and Words-N-Ideas, LLC (the

  “Undersigned Defendants”) adopt the facts as set out in “Free Speech Defendants’ Motion for

  Reconsideration or Certification for Interlocutory Appeal of the Court’s March 29 Order and

  Opinion” (Dkt. 133) and in its accompanying brief in support (Dkt. 133-1) (hereinafter collectively

  the “Free Speech Defendants’ Motion to Reconsider or for Certification”).

                                   I.
   THIS COURT SHOULD RECONSIDER ITS RULING IN RELATION TO PERSONAL
    JURISDICTION BOTH UNDER VIRGINIA’S LONG-ARM STATUTE AND UNDER
          THE DUE PROCESS CLAUSE, OR CERTIFY THESE ISSUES FOR
                        INTERLOCUTORY APPEAL

         The Undersigned Defendants join the Free Speech Defendants’ Motion to Reconsider or

  for Certification without reservation. Their arguments are adopted by reference. The Undersigned

  Defendants write separately only to concur and to make the following additional points: 1) There

  is additional caselaw demonstrating that there is substantial grounds for disagreement as needed

  for a certification of an interlocutory appeal on the due process limits of personal jurisdiction; 2)

  this Court should also reconsider its decision to ignore the Virginia long-arm statute, particularly

  in light of recent precedent from the Supreme Court of Virginia; 3) if this Court applied the

  Virginia long-arm statute, it would be unable to find personal jurisdiction in this case; and 4) in

  the alternative, this Court should certify the question of whether it can ignore the long-arm statute

  for interlocutory appeal.

  A.     The Existence of a Substantial Ground for Difference of Opinion is Demonstrated by
         a Split Within this Circuit and Even Within this District on the Limits of Personal
         Jurisdiction Imposed by the Due Process Clause.

         With respect to the availability of an interlocutory appeal in relation to the application of

  the Due Process Clause, one of the factors that the Free Speech Defendants correctly focused on




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  was 28 U.S.C. § 1292(b)’s requirement that there be a “substantial ground for difference” with

  respect to this Court’s decision. The Undersigned Defendants wish to add a little to the Free

  Speech Defendants’ argument on this point. This does not require this Court to determine that it

  made an incorrect decision, only that another jurist could have reasonably reached a different

  outcome. As stated in KPMG Peat Marwick v. Estate of Nelco, Ltd., Inc., 250 B.R. 74, 82 (E.D.

  Va. 2000), “an interlocutory appeal will lie only if a difference of opinion exists between courts

  on a given controlling question of law, creating the need for an interlocutory appeal to resolve the

  split or clarify the law.”

          There can be no stronger evidence of a reasonable difference of opinion than the

  appearance of a split within this district. Nine days before the decision in this case, the Roanoke

  division ruled in Edwards v. Schwartz, No. 7:18-cv-378 (W.D. Va. March 20, 2019) (attached as

  Exhibit D). As in the instant case, Schwartz concerned alleged defamation committed over the

  Internet, with the Schwartz case concerning social media. In rejecting the proposed assertion of

  jurisdiction, Schwartz held that:

                  In sum, although Edwards alleges that the defendants “directed
                  numerous defamatory statements . . . directly to Virginia Tech via
                  social media,” there is no support, by affidavit or exhibit, indicative
                  of incidental, let alone purposeful, targeting of Virginia Tech (or
                  Virginia) as to the claims in paragraphs 52, 53, 54, 55, 56, and 63.12
                  Neither the statements themselves nor the social media platforms
                  from which they were published uniquely target Virginia or would
                  have inherently included a substantial number of Virginia residents
                  or businesses.

  Exhibit D at 18. This analysis, discussing whether the posts or the forums “uniquely target

  Virginia,” suggests that the Schwartz court would be likely to find that the writings and videos of




                                                    2

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  the Undersigned Defendants were sent to the world at large, rather than any individual state, 1 and

  therefore, the Undersigned Defendants could not be subjected to personal jurisdiction in Virginia.

          Likewise, in a pair of cases that shall be referred to as Schmaelfeldt I and Schmalfeldt II,2

  district courts in Wisconsin and South Carolina3 (respectively) held that personal jurisdiction was

  lacking based on facts that were, if anything, more likely to support an assertion of personal

  jurisdiction than those in the instant case. As in the instant case, the Schmalfeldt cases arose from

  Internet speech, but unlike the instant case, the controversy involved was a small one of mainly

  local character. By contrast, the events of this case are a matter of controversy that has had impact

  across this country and has even been finding its way into the 2020 campaign for president. 4

  Although questions were raised about the applicability of the long-arm statutes in Schmalfeldt I &

  II, both cases contained rulings that due process would not allow for the assertion of personal

  jurisdiction. However, the conduct of the defendants alleged in Schmalfeldt I and II did more to

  arguably target their respective jurisdictions than the Undersigned Defendants allegedly did in this

  case.

          For instance, in Schmalfeldt I, the court analyzed the conduct of two defendants: Sarah

  Palmer and Eric Johnson. In the name of full disclosure, undersigned counsel represented those



  1
    Schwartz did find personal jurisdiction over one claim, involving a letter, emailed to an official
  at Virginia Tech, precisely because such an emailed letter is directed toward Virginia.
  2
    Schmalfeldt I refers to Schmalfeldt v. Johnson, et. al., No. 15-CV-1516 (E.D. Wis. July 1, 2016)
  and is attached as Exhibit E. Schmalfeldt II refers to Schmalfeldt v. Grady, et. al., No. 4:17-cv-
  01310-RBH-KDW (D. S.C. Dec. 7, 2017), which is the magistrate’s recommendation and is
  attached as Exhibit B. Attached as Exhibit C is the order where that recommendation was adopted.
  3
    Both cases involve the same plaintiff, who had moved from jurisdiction to jurisdiction.
  4
    Henry Graff and Meghan Moriarty, Biden Announces Presidential Bid in Video that Focuses on
  Events        in         Charlottesville,      NBC29.COM,            April 30,       2019         at
  https://www.nbc29.com/story/40365743/joe-biden-announces-2020-presidential-bid-in-video-
  that-focuses-on-white-nationalist-events-in-charlottesville (last viewed May 8, 2019).
                                                   3

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  defendants, but was not involved in Schmalfeldt II. Ms. Palmer had simply published information

  to the world at large from her home in North Carolina, much like the Undersigned Defendants, but

  in the context of a local controversy rather than a national one. On the other hand, Johnson was

  alleged to have transmitted more than one defamatory phone call and email into Wisconsin (the

  relevant jurisdiction) from his home in Tennessee. Despite the fact that Johnson had allegedly

  directed defamatory communications into the relevant jurisdiction, Schmalfeldt I held as a matter

  of due process that Wisconsin could not exercise jurisdiction over either defendant.

         Likewise, in Schmalfeldt II (decided in another court in this circuit) the behavior at issue

  presented a stronger case for asserting jurisdiction (in South Carolina) than in the instant case:

                 The post relied on by Plaintiff that comes closest to a South Carolina
                 connection is the one post allegedly by Defendant Grady wherein he
                 claims to have “e-mailed-blasted every landlord in the entire state of
                 South Carolina . . . and reminded them the Step 1 of any background
                 check is run a credit report on any prospective tenant . . . .”
                 https://sonoranconservative.com/2017/07/18/helpme-i-need-a-
                 medic/comment-page-1. However, a close examination of that post
                 discloses no direct reference to Plaintiff in the alleged “e-mail blast”
                 to “every landlord,” nor does Plaintiff provide any evidence
                 showing that any landlord even received such an e-mail or that
                 Plaintiff was denied housing in South Carolina based on that post or
                 on any other posts by any Defendant. As a result, this court can only
                 speculate as to whether Defendant Grady even sent the alleged e-
                 mail or whether any person or entity in South Carolina even read the
                 blog posts on which Plaintiff relies.

  Exhibit B at 8-9. Later on, Schmalfeldt II notes the following in relation to the remaining posts:

                 While the other posts by Defendants Hoge, Johnson, and Palmer on
                 which Plaintiff relies do reference Plaintiff’s current residence in
                 South Carolina, none directly connects Defendants’ activities to
                 South Carolina as opposed to their general accessibility to all states
                 and most countries through the Internet.

  Exhibit B at 9-10 (footnotes omitted). Based on this logic, the Schmalfeldt II court found that it

  could not exercise personal jurisdiction over the defendants, all of whom lived outside of South


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  Carolina. By this Court’s analysis in the instant case, all of those Schmalfeldt defendants—

  including Ms. Palmer in Schmalfeldt I—could have been subject to personal jurisdiction,

  consistent with the Due Process Clause. Thus, it is clear in both of the Schmalfeldt cases that those

  respective jurists would not have found personal jurisdiction to exist in the instant case.

         A similar conclusion was reached in Planet Aid, Inc. v. Reveal, No. GLR-16-2974 (D. Md.

  June 26, 2017) (attached as Exhibit F). Planet Aid involved allegedly defamatory broadcasts that

  originated outside of Maryland but were transmitted into Maryland. Specifically, Reveal (a news

  outlet) had created radio programs called “podcasts” that Reveal gave to a network that included

  public radio stations in Maryland, while two of Reveal’s reporters had appeared on NBC 4, a

  television station located in Washington, D.C., to discuss Planet Aid. Yet the Planet Aid court

  held that even if Maryland’s long-arm statute would allow for that court to exercise jurisdiction, it

  could not do so consistent with due process and dismissed for lack of personal jurisdiction. With

  respect to the distribution of materials to be aired on Maryland’s public radio stations, the Planet

  Aid court wrote that: “Defendants could not have had a reasonable expectation that PRX’s

  nationwide distribution of the Podcasts would be sufficient to subject PRX to personal jurisdiction

  in Maryland merely because five of those 364 radio stations would broadcast the Podcasts into

  Maryland.” Exhibit F at 7. Likewise, when discussing the appearance of Reveal’s reporters on

  NBC 4, the Planet Aid court wrote that NBC4 could not be subjected to jurisdiction, and therefore

  the Defendants could not have either, stating that “Defendants ... could not have had a reasonable

  expectation that airing the NBC 4 Broadcasts from Washington, D.C. would subject NBC 4 to

  jurisdiction in Maryland simply because the two NBC 4 Broadcasts could also be viewed in

  Maryland.” Id. Plainly, the Planet Aid court would not have decided the instant case the same

  way that this Court has.


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          All of the cases cited to this Court, including Schwartz and Schmalfeldt I and II, together

   with the cases cited by the Free Speech Defendants demonstrate that reasonable jurists can disagree

   on this point of law—providing further support for the proposition that this Court should certify

   this issue for interlocutory appeal.

   B.     This Court Should Also Reconsider its Decision to Assert Personal Jurisdiction Over
          the Undersigned Defendants by Ignoring the Language of Virginia’s Long-Arm
          Statute.

          In finding that this Court could assert personal jurisdiction over the Undersigned

   Defendants, this Court found that the Virginia long-arm statute had exactly the same reach as the

   Due Process Clause, and therefore, this Court could ignore the language of that statute. A recent

   decision by the Virginia Supreme Court indicates that a Virginia Court cannot ignore the long-arm

   statute, and thus, this Court cannot ignore it in a diversity case, either. If this Court examines the

   language of the Virginia long-arm statute, this Court will see that the Plaintiff cannot exercise

   personal jurisdiction over the Undersigned Defendants.

          1.      This Court Should Reconsider its Decision to Ignore the Virginia Long-Arm
                  Statute.

          In its March 29, 2019 decision, this Court determined that it could ignore the language of

   Virginia’s long-arm statute, VA CODE § 8.01-328.1, on the following logic:

                  For a court to “assert personal jurisdiction over a nonresident
                  defendant, two conditions must be satisfied: (1) the exercise of
                  jurisdiction must be authorized under the state’s long-arm statute;
                  and (2) the exercise of jurisdiction must comport with the due
                  process requirements of the Fourteenth Amendment.” Carefirst of
                  Md., Inc. v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 396 (4th
                  Cir. 2003). “Because Virginia’s long-arm statute extends personal
                  jurisdiction to the outer bounds of due process, the two-prong test
                  collapses into a single inquiry when Virginia is the forum state.”
                  Tire Eng’g & Distrib., LLC v. Shandong Linglong Rubber Co., Ltd.,
                  682 F.3d 292, 301 (4th Cir. 2012). “A Virginia court thus has
                  jurisdiction over a nonresident defendant if the exercise of such
                  jurisdiction is consonant with the strictures of due process.” Id.

                                                     6

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   Dkt. 123 at 15-16. This case presents as stark a test of that principle as this Court might imagine.

   The Plaintiff has only asserted jurisdiction based on VA CODE § 8.01-328.1(A)(1) and (4) which

   states that:

                  A.      A court may exercise personal jurisdiction over a person,
                          who acts directly or by an agent, as to a cause of action
                          arising from the person’s: ...

                          1.     Transacting any business in this Commonwealth;
                                 [or] ...

                          4.     Causing tortious injury in this Commonwealth by an
                                 act or omission outside this Commonwealth if he
                                 regularly does or solicits business, or engages in any
                                 other persistent course of conduct, or derives
                                 substantial revenue from goods used or consumed or
                                 services rendered, in this Commonwealth;

   There is no serious argument that this case arises out of any transaction by the Undersigned

   Defendants; thus, subsection (A)(1) does not apply. Further, with respect to subsection (A)(4), the

   Undersigned Defendants have submitted declarations showing that they “do not regularly do

   business in Virginia, solicit business in Virginia, engage in any persistent course of conduct in

   Virginia, or derive any revenue from goods used or consumed or services rendered in Virginia.”

   Declaration of R. Scott Creighton, Dkt. 47-2, ¶ 3; Declaration of James Hoft, Dkt. 47-3, ¶ 3;

   Declaration of Michelle Hickford, Dkt. 47-4, ¶ 4 (attesting to her and Words-N-Ideas, LLC’s lack

   of contact with Virginia); and Declaration of Derrick Wilburn, Dkt. 47-5, ¶ 3. The Plaintiff, for

   his part, has presented absolutely no evidence to contradict those declarations, and thus the

   Plaintiff has failed to meet the requirements under subsection (A)(4). Therefore, the only way that

   this Court can find that there is jurisdiction under Virginia’s long-arm statute is by ignoring its

   language completely.

           While some of dicta from the Fourth Circuit, such as the language cited by this Court from

                                                    7

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   Shandong Linglong Rubber Co., suggests that it is proper to ignore the language of the long-arm

   statute, a deeper investigation into the applicable precedent shows it is not.

            For instance, Maryland’s long-arm statute, MD CODE CTS. & JUD. PROC. § 6-103(b), is

   virtually identical in every relevant respect to Virginia’s long-arm statute 5 and in the past, the

   Fourth Circuit has stated that it can be ignored, just like Virginia’s. See, e.g., Carefirst of Maryland

   v. Carefirst Pregnancy Ctrs., 334 F.3d 390, 396-97 (4th Cir. 2003).

            However, the Maryland Court of Appeals has stated that this approach is 180 degrees

   wrong, writing in Mackey v. Compass, 391 Md. 117, 892 A.2d 479, 493 n.6 (2006) that

                    We stated recently in Beyond v. Realtime, 388 Md. 1, 15, 878 A.2d
                    567, 576 (2005) that “[w]e have consistently held that the purview
                    of the long arm statute is coextensive with the limits of personal
                    jurisdiction set by the Due Process Clause of the Federal
                    Constitution.” We did not, of course, mean by this that it is now
                    permissible to simply dispense with analysis under the long-arm
                    statute. See id. at 14, 878 A.2d at 575 (noting that personal
                    jurisdiction analysis entails “dual considerations,” the first of which
                    is analysis under the long-arm statute). Rather, we meant no more
                    than what we said in Geelhoed, viz., that we interpret the long-arm
                    statute to the limits permitted by the Due Process Clause when we
                    can do so consistently with the canons of statutory construction.

   In other words, the language of Beyond amounted to nothing more than an interpretive principle

   used when construing the words of the long-arm statute, not a belief that the words of the long-

   arm statute could be ignored.

            The key question before this Court, however, is how would the Virginia Supreme Court

   interpret VA CODE § 8.01-328.1? Would it ignore the statute’s language as this Court has, or would

   it treat its language as controlling? As this Court observed in Legard v. EQT Production Co., 771

   F. Supp. 2d 607, 609 (W.D. Va. 2011):

                    In accord with Erie R.R. v. Tompkins, 304 U.S. 64, 58 S.Ct. 817, 82

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       Both are based on the same model statute. Infra 11-12.
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                  L.Ed. 1188 (1938), a federal court exercising diversity jurisdiction
                  must apply the law of the highest court of the state in which it sits.
                  Wells v. Liddy, 186 F.3d 505, 527-28 (4th Cir.1999). Where state
                  law is unclear, the court must predict how the highest court of that
                  state would rule if presented with the issue. Id.

   Virginia’s Supreme Court has never made a statement as unequivocal as that made by Maryland’s

   highest court, but it is clear that the Virginia Supreme Court agrees that its long-arm statute cannot

   simply be ignored. The clearest indication of this is found in Mercer v. MacKinnon, No. 180358

   (Va. S. Ct. Feb. 21, 2019). A copy of this opinion is attached as Exhibit A, and this Court can see

   that this was a decision rendered approximately a month before this Court’s March 29 decision—

   thus, well after briefing had ended. Mercer involved another challenge to personal jurisdiction.

   The important point, however, is that the Virginia Supreme Court relied exclusively on the

   interpretation of its long-arm statute, specifically VA CODE § 8.01-328.1(A)(4). The Mercer

   court’s analysis went deeply into the meaning of the words of that subsection and determined that

   the requirements of that subsection had not been met. Based on that statutory determination and

   without any consideration of the Due Process Clause, the Mercer court determined that the lower

   court appropriately dismissed the case for lack of personal jurisdiction. In other words, the Mercer

   court skipped the Due Process Clause, not the long-arm statute—the direct opposite of what this

   Court has done.

          Indeed, applying the long arm statute has been the regular practice of Virginia’s courts for

   some time. In Krantz v. Air Line Pilots Ass’n, Intern., 245 Va. 202, 205 (1993), the Supreme Court

   of Virginia said that “the function of [Virginia’s] long-arm statute is to assert jurisdiction over

   nonresidents who engage in some purposeful activity in Virginia, to the extent permissible under

   the Due Process Clause.” However, Krantz made it clear that this language was not a license to

   skip over the long-arm statute by actually determining whether the long-arm statute applies. It


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   was only after a statutory basis for the exercise of jurisdiction was found that the Krantz court

   turned to due process and ultimately determined that Virginia had personal jurisdiction over the

   defendants in that case.

          Finally, the Fourth Circuit has not been consistent in claiming that the Virginia long-arm

   statute can be skipped. In Booth v. Leaf, 40 F.3d 1243 (4th Cir. 1994) (a copy is attached as

   Exhibit G),6 the Fourth Circuit examined a case where a person allegedly defamed a Virginian by

   sending a letter from outside of Virginia, into Virginia, where it was republished by a third party

   in the state. First, the Leaf court examined VA CODE § 8.01-328.1(A)(3) which states that:

                  A.      A court may exercise personal jurisdiction over a person,
                          who acts directly or by an agent, as to a cause of action
                          arising from the person’s: ...

                          3.      Causing tortious injury by an act or omission in this
                                  Commonwealth;

   The Leaf court held that this statutory language did not apply for the following reason:

                  Sec. 8.01-328.1(A)(3) does not grant jurisdiction over a person who
                  wrote and mailed an allegedly defamatory letter outside Virginia.
                  Early, 669 F. Supp. at 132; Davis, 580 F. Supp. at 1087; St. Clair v.
                  Righter, 250 F. Supp. 148, 151 (W.D. Va. 1966), disapproved on
                  other grounds, Beaty v. M. S. Steel Co., 401 F.2d 157, 160-61 (4th
                  Cir.1968), cert. denied, 393 U.S. 1049 (1969).

   Exhibit G at 2. Rejecting jurisdiction under subsection (A)(3), the Leaf court turned to subsection

   (A)(4). In the process of analyzing that subsection, the Leaf court brushed aside any suggestion

   that it could just ignore Virginia’s statutory language as follows:

                  As for the second requirement, although Virginia’s long-arm statute
                  has been extended to the limits of due process, English & Smith, 901
                  F.2d at 38, jurisdiction under Sec. 8.01-328.1(A)(4) requires this
                  Court to find that the specific statutory requirements are met “even

   6
     This is an “unpublished disposition,” but 4TH CIR. local rule 32.1 states that while citation of
   such opinions is “disfavored” they can be cited when “no published opinion … would serve as
   well.”
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                  in those situations where it could plausibly be argued that a lesser
                  standard would meet due process.” Willis v. Semmes, Bowen &
                  Semmes, 441 F. Supp. 1235, 1243 (E.D. Va.1977).

   Id. The Leaf court proceeded to determine that the defendants did not have sufficient contacts with

   Virginia in order to satisfy VA CODE § 8.01-328.1(A)(4) and then dismissed the case. In other

   words, just as in the Mercer case above, the Leaf court skipped the Due Process Clause but not the

   long-arm statute: “Because Booth failed to meet the statutory requirements, we need not decide

   whether jurisdiction over the Leafs comports with due process.” Id. at 3.

          Indeed, if Virginia’s General Assembly had meant to simply reach every case that it could

   consistent with the Due Process Clause, why not simply say that? Why not rewrite V A CODE

   § 8.01-328.1 to say something like “a court may exercise personal jurisdiction over persons outside

   of this Commonwealth to the utmost allowed under the constitutions of the United States and

   Virginia”? There are over 600 words in VA CODE § 8.01-328.1, and yet, according to this Court’s

   ruling, Virginia only needed twenty-five. It is bizarre to pretend that those hundreds of words are

   surplusage, especially when the Virginia Supreme Court clearly thinks that they are not.

          Therefore, it is clear that a Virginia court cannot assert jurisdiction over a defendant

   without meeting the requirements of the long-arm statute.7 As will be demonstrated in the next

   section, if this Court had required the Plaintiff to meet those requirements, this Court would not

   have been able to assert personal jurisdiction over the Undersigned Defendants.

          2.      Under the Virginia Long-Arm Statute, Personal Jurisdiction Cannot be Based
                  Solely on Electronic Contact.

          As a starting point, in all respects relevant to this suit, the long-arm statutes of the District




   7
     Alternatively, this Court might consider certifying the question of whether this Court can simply
   ignore the language of the long-arm statute to the Virginia Supreme Court.
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   of Columbia, Virginia, and Maryland 8 are the same. This is not surprising, because all three are

   based on the Uniform Interstate and International Procedure Act promulgated in 1962. Mercer,

   Exhibit A at 4; Etchebarne-Bourdin v. Radice, 982 A.2d 752, 763 (D.C. 2009); Christian Book v.

   Great Christian, 137 Md. App. 367, 768 A.2d 719, 731 (Md. App. 2001). Further, all three statutes

   have been interpreted so that a defamatory statement uttered outside of the relevant jurisdiction

   but sent my mail, by telephone, or by email into that jurisdiction is insufficient to meet the

   standards of these long-arm statutes.

          Indeed, in most cases involving defamation that is uttered outside of the relevant

   jurisdiction and transmitted into that jurisdiction, D.C., Virginia, and Maryland Courts have

   consistently looked to the third subsection of their long-arm statutes, not the fourth, so it is worth

   examining both subsections together. The Virginia version of these two subsections reads as

   follows:

                  A.      A court may exercise personal jurisdiction over a person,
                          who acts directly or by an agent, as to a cause of action
                          arising from the person’s: ...

                          3.      Causing tortious injury by an act or omission in this
                                  Commonwealth; [or]

                          4.      Causing tortious injury in this Commonwealth9 by an


   8
     D.C. CODE § 13–423(a), VA CODE § 8.01-328.1(A) and MD CODE CTS. & JUD. PROC. § 6-103(b),
   respectively.
   9
     The Maryland version of the fourth subsection reads differently in a way that is irrelevant to this
   case. It states that Maryland can exercise jurisdiction over any person who

                  “Causes tortious injury in the State or outside of the State by an act
                  or omission outside the State if he regularly does or solicits business,
                  engages in any other persistent course of conduct in the State or
                  derives substantial revenue from goods, food, services, or
                  manufactured products used or consumed in the State;”


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                                  act or omission outside this Commonwealth if he
                                  regularly does or solicits business, or engages in any
                                  other persistent course of conduct, or derives
                                  substantial revenue from goods used or consumed or
                                  services rendered, in this Commonwealth;

   VA CODE § 8.01-328.1(A)(3) and (4).

          Courts in all three jurisdictions have regularly held that a defamatory statement uttered

   outside of the jurisdiction and transmitted into that jurisdiction does not count as an “act or

   omission” inside the jurisdiction. For instance, in St. Clair v. Righter, 250 F. Supp. 148 (W.D. Va.

   1966), this Court held that sending an allegedly defamatory letter from outside of Virginia, into

   Virginia, was not an act or omission in Virginia under V A CODE § 8.01-328.1(A)(3).10 At the time

   the St. Clair court ruled, the Uniform Interstate and International Procedure Act was only four

   years old, and therefore the case was a matter of first impression. In reading these statutes, this

   Court reasoned that

                  It will be noted that Virginia has included two separate paragraphs,
                  (3) and (4), which deal with jurisdiction predicated on a potentially
                  tortious injury which occurs within the State (the statute refers to the
                  causing of a “tortious injury” which, of course, is something of a
                  misnomer, since whether or not the injury was tortious is generally
                  the fact at issue). This sets the Virginia statute apart from the so-
                  called “single-act” long-arm statutes (notably those of Illinois and
                  New York) which state simply that in personam jurisdiction may be
                  asserted over a person who commits a “tortious act” within the state.
                  Ill.Ann.Stat., supra; N.Y. CPLR § 302 (1963). Paragraph (4) is
                  considerably more restrictive than paragraph (3), the former
                  requiring that the defendant engage in some persistent course of
                  conduct or derive substantial revenue from goods used or consumed
                  or services rendered within the State for jurisdiction to attach.
                  Therefore, in interpreting the Virginia statute we must attempt to
                  ascertain the legislative purpose behind the inclusion of the two

   MD CODE CTS. & JUD. PROC. § 6-103(b) (emphasis added). The Maryland legislature has
   chosen to insert the italicized language into their version of the statute. This is surely
   significant in some cases, but not in the instant case.
   10
      At the time, the long-arm statute was codified as VA CODE § 8-81.3. Aside from cosmetic
   changes, it read the same in every relevant way as the current version.
                                                    13

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                  tortious injury paragraphs.

                  The significant difference between Virginia’s statute and the
                  “single-act” statutes is that the General Assembly saw fit to separate
                  the causal act from the resulting injury. In legislation which bases
                  jurisdiction simply on a “tortious act” committed within the state, it
                  is obvious that the act and injury must coincide, as an act cannot be
                  tortious in the absence of injury. Virginia, on the other hand, refers
                  both to the “act or omission” and the “tortious injury” resulting
                  therefrom. In both paragraphs the tortious injury occurs within
                  Virginia, but in paragraph (3) the causal act also occurs within the
                  State while in paragraph (4) it occurs outside the State, a fact which,
                  in the minds of the legislators, necessitated the restrictive language
                  appended to the latter paragraph.

                  …

                  In the instant case, the alleged tortious injury occurred upon the
                  publication of the alleged libel within Virginia, but this was caused
                  by the act of writing and mailing the letters outside Virginia.
                  Plaintiff, therefore, must predicate jurisdiction upon paragraph (4),
                  and this court must hold that the acts alleged in this case do not fall
                  within the terms of the statute, as there is no evidence of any
                  persistent course used by the Virginia General Assembly of conduct
                  or derivation of revenue on the part of the defendants. The language
                  must be interpreted with relation to the statute as a whole, and if the
                  court were to hold that plaintiff could use paragraph (3) to obtain
                  jurisdiction (a holding that the act occurred in Virginia), the
                  necessity for paragraph (4) would be completely obviated, as every
                  set of facts which give rise to tortious injury could be brought within
                  the terms of paragraph (3). We would in effect be assimilating the
                  Virginia statute to the single-act statutes of other states. Obviously,
                  there is a purpose for paragraph (4) or the legislature would not have
                  included it. Most probably, there was some concern over the
                  constitutionality of single-act provisions, and to “enact” a single-act
                  statute by judicial legislation would be to blatantly disregard the
                  intent of the General Assembly.

   250 F. Supp. at 150-151. In short, because these provisions separated the act from the injury, the

   act of defamation occurred when the letter was written and mailed outside of Virginia, and the

   injury occurred when it arrived in Virginia. Therefore, the requirements of subsection (A)(3) was

   not met, and this Court, having determined that the act was committed outside of Virginia, went


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   on to hold that there was not a sufficient connection to Virginia to satisfy subsection (A)(4), either.

          Similarly, in Margoles v. Johns, 483 F.2d 1212, 157 U.S.App.D.C. 209 (D.C. Cir. 1973),

   the D.C. Circuit was confronted with a defendant who allegedly called into the District of

   Columbia from Wisconsin and allegedly made defamatory remarks in that call. Although there

   can be no question on those facts that the defendant in that case intended to cause injury primarily

   in D.C. and the defendant purposefully transmitted that information into D.C., that was insufficient

   to meet the requirements the equivalent D.C. CODE § 13–423(a)(3). Meanwhile, the Maryland

   Court of Special Appeals reached the same conclusion in Zinz v. Evans and Mitchell Industries,

   324 A.2d 140, 22 Md. App. 126 (Md. App. 1974). In Zinz, an allegedly defamatory letter was

   mailed from outside of Maryland, into Maryland, allegedly causing damage to a Marylander.

   Relying on Righter and Margoles, the Court of Special Appeals held that the mere act of sending

   such a letter was insufficient to satisfy MD CODE CTS. & JUD. PROC. § 6-103(b)(3) or (4).

          These are not aberrant precedents. For instance, Righter has been applied to bar personal

   jurisdiction arising from allegedly defamatory Internet postings, Noah Nathan v. Takeda

   Pharmaceuticals America Inc., et al. No. 08-02-2011 (Va. Cir. Aug. 2, 2011) (attached as

   Exhibit H), and to allegedly defamatory phone calls, Robinson v. Egnor, 699 F. Supp. 1207 (E.D.

   Va. 1988). Meanwhile, in Moncrief v. Lexington Herald-Leader Co., 807 F.2d 217 (D.C. Cir.

   1986), Margoles was extended to an allegedly defamatory newspaper article written in Kentucky

   and mailed to D.C., while Betz v. Aidnest, No. 1:18-cv-0292 (KBJ) (D. D.C. Oct. 26, 2018)

   (attached as Exhibit I) confirmed the continuing vitality of Margoles. Likewise, Zinz was cited in

   Dring v. Sullivan, 423 F. Supp. 2d 540 (D. Md. 2006) when that court found that an email sent

   from outside of Maryland, into Maryland, was not sufficient to meet M D CODE CTS. & JUD. PROC.

   § 6-103(b)(3), and the continuing vitality of Zinz was verified as recently as 2014 in Winter v.


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   Pinkins, No. JKB-14-2125 (D. Md. Oct. 29, 2014) (attached as Exhibit J).

           Therefore, under Virginia’s long-arm statute, even allegedly defamatory communications

   specifically transmitted from outside of the jurisdiction, into the jurisdiction, are not sufficient, by

   themselves, to subject one to personal jurisdiction under VA CODE § 8.01-328.1 (or its equivalents

   in Maryland and D.C.) because such conduct is not an “act or omission” in Virginia as required by

   § 8.01-328.1(A)(3).    If that can be said about letters, phone calls, and emails intentionally

   transmitted into Virginia, it can also be said of a passive website that is only accessed from Virginia

   and therefore, § 8.01-328.1(A)(3) does not apply to any of the conduct of the Undersigned

   Defendants.

           Instead, the Plaintiff has to look to § 8.01-328.1(A)(4)—as he has—which applies to acts

   and omissions committed outside of Virginia that allegedly cause harm in Virginia. However, in

   order to assert jurisdiction under that subsection, this Court must find that each of the Undersigned

   Defendants “regularly does or solicits business, or engages in any other persistent course of

   conduct, or derives substantial revenue from goods used or consumed or services rendered, in this

   Commonwealth.” Id.        The only evidence before this Court on this subject are unrebutted

   declarations establishing that the Undersigned Defendants do not have such a relationship with

   Virginia, and therefore, this Court lacks personal jurisdiction over those defendants. 11

   C.     In the Alternative, this Court Should Certify the Question of Whether this Court Can
          Ignore the Virginia Long-Arm Statute for Interlocutory Appeal.

           This brief will not belabor the point that such a question would meet the standards set out

   by 28 U.S.C. § 1292(b). First, there is no doubt that this involves a question of law and not of fact,

   because there are no facts in dispute on this point. Second, there is no doubt that the question is


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     The Undersigned Defendants previously pointed out why subsection (A)(1) had no applicability
   to their alleged conduct. See supra at 7.
                                                     16

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   controlling because it controls whether or not this case should be dismissed. Third, there is no

   question that such an appeal might serve to advance the termination of the litigation because if the

   Undersigned Defendants are correct on this point, the case would be terminated (dismissed).

          Finally, there is little doubt there is substantial ground for a difference of opinion among

   jurists. The logic of the Mercer case, where the Virginia Supreme Court examined the language

   and the meaning of the Virginia long-arm statute and determined that Virginia lacked jurisdiction

   based solely on the failure to meet the long-arm statute’s requirements—without examining

   whether that assertion of jurisdiction would pass muster under due process—is fundamentally at

   odds with the analysis of this Court’s ruling, wherein the specific language of the long-arm statute

   did not matter so long as the Due Process Clause was satisfied. Mercer demonstrates beyond any

   reasonable doubt that if this case had been filed in the Circuit Court of Albemarle County, that

   court would have been dismissed the case for lack of personal jurisdiction. Again, this Court does

   not have to believe it made the wrong decision by ignoring the long-arm statute; it only has to

   believe that another reasonable jurist might reach a different decision.

          Therefore, all of the requirements of 28 U.S.C. § 1292(b) have been met. Accordingly, if

   this Court is not willing to reconsider its decision to ignore the long-arm statute, the Undersigned

   Defendants ask this Court to certify that question for interlocutory appeal.

                                            CONCLUSION

          In all of this discussion, it is easy to get lost in the “weeds” and forget that there is an

   important question at stake: How should expensive “free” speech be? This is not a question for

   one set of defendants whose views might be less popular than most people’s. This is question of

   a rule of law that will apply to every defendant in every case, whether the case is meritorious or

   abusive. Citizens across this country should not be afraid of speaking on national issues, due to


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   the risk of being haled into a court far from home in a defamation suit that might or might not have

   factual merit. Rigorously enforcing barriers to personal jurisdiction allows all people to speak

   more freely.

          The Undersigned Defendants join the arguments made in the Free Speech Defendants’

   Motion to Reconsider or for Certification without reservation. With respect to the question of

   whether this Court could assert jurisdiction over the Undersigned Defendants consistent with the

   Due Process Clause, the Undersigned Defendants believe that the argument for allowing an

   interlocutory appeal is even stronger than the Free Speech Defendants stated. Additionally, the

   Undersigned Defendants have demonstrated that this Court should reconsider its decision to ignore

   Virginia’s long-arm statute and should determine that the Plaintiff has failed his burden to show

   that the Undersigned Defendants fall within its requirements. In the alternative, the Undersigned

   Defendants ask this Court to certify that question for interlocutory appeal.



   Thursday, May 9, 2019                         Respectfully submitted,



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   List of Exhibits:
   Exhibit A: Mercer v. MacKinnon, No. 180358 (Va. S. Ct. Feb. 21, 2019)

   Exhibit B: Schmalfeldt v. Grady, et. al., No. 4:17-cv-01310-RBH-KDW (D. S.C. Dec. 7, 2017)
   (Schmalfeldt II)

   Exhibit C: Opinion Adopting the Recommendation in Schmalfeldt II.

   Exhibit D: Edwards v. Schwartz, No. 7:18-cv-378 (W.D. Va. March 20, 2019)

   Exhibit E: Schmalfeldt v. Johnson, et. al., No. 15-CV-1516 (E.D. Wis. July 1, 2016) (Schmalfeldt
   I)

   Exhibit F: Planet Aid, Inc. v. Reveal, No. GLR-16-2974 (D. Md. June 26, 2017)

   Exhibit G: Booth v. Leaf, 40 F.3d 1243 (4th Cir. 1994)

   Exhibit H: Noah Nathan v. Takeda Pharmaceuticals America Inc., et al. No. 08-02-2011 (Va. Cir.
   Aug. 2, 2011)

   Exhibit I: Betz v. Aidnest, No. 1:18-cv-0292 (KBJ) (D. D.C. Oct. 26, 2018)

   Exhibit J: Winter v. Pinkins, No. JKB-14-2125 (D. Md. Oct. 29, 2014)




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